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                           United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


  UNITED STATES OF AMERICA                        §
                                                  §
  VS.                                             §             CRIM NO. 4:07CR164-5
                                                  §             APPEAL NO. 10-40492
  TRENTARGUS RUMANE HOLT                          §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

         On April 19, 2010, U.S. District Judge Marcia Crone entered a Memorandum and Order

  denying the Defendant’s motion for reduction in sentence. Defendant submitted a pro se notice

  of appeal that is stamped as filed on May 17, 2010. The final day for filing a timely notice of

  appeal was May 3, 2010. On July 7, 2010, the Fifth Circuit remanded the case for a determination

  of whether excusable neglect or good cause existed for the untimely filing of the Defendant’s

  notice of appeal. On September 2, 2010, this matter was referred to the undersigned.

         Rule 4(b)(1) of the Federal Rules of Appellate Procedure affords a criminal defendant

  fourteen (14) days in which to file a notice of appeal. Pursuant to Rule 4(b)(4) of the Federal

  Rules of Appellate Procedure, a district court may grant an additional thirty (30) days in which

  to file a notice of appeal upon a finding of excusable neglect or good cause. Since Defendant

  filed his notice of appeal within the additional thirty (30) day period, the Fifth Circuit remanded

  the case to this Court on July 7, 2010, for a determination of whether the untimely filing of the

  notice of appeal was due to excusable neglect or good cause. This Court subsequently entered

  an Order on September 2, 2010, directing Defendant to file an affidavit with the Court by October

  1, 2010, explaining whether the untimely filing of his notice of appeal was due to excusable


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  neglect or good cause. The Court also ordered Defendant’s retained counsel to file a report with

  the Court explaining his knowledge of this matter.

         On September 30, 2010, Defendant’s retained counsel filed a report indicating that his

  representation concluded after sentencing. However, the Court would note that counsel never

  filed a motion to withdraw.

         In the Court’s September 2, 2010 Order, the Court ordered Defendant to file an affidavit

  with the Court by October 1, 2010, explaining whether the untimely filing of his notice of appeal

  was due to excusable neglect or good cause. The Court’s September 2, 2010 Order was received

  by Defendant on September 15, 2010. Although more than two weeks have passed since

  Defendant received the Order of this Court, Defendant has failed to file an affidavit with the

  Court, as ordered. Defendant, therefore, has not offered any explanation as to whether the

  untimely filing of his notice of appeal was due to excusable neglect or good cause. In light of the

  foregoing, the Court finds that Defendant’s untimely filing of his notice of appeal was not due

  to excusable neglect or good cause.

                                      RECOMMENDATION

         The Court recommends that the Fifth Circuit Court of Appeals be notified of the

  undersigned’s findings that Defendant’s untimely filing of his notice of appeal was not due to

  excusable neglect or good cause.

         Within fourteen (14) days after service of the magistrate judge's report, any party may

  serve and file written objections to the findings and recommendations of the magistrate judge.

  28 U.S.C. § 636(b)(1)(c).



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             Failure to file written objections to the proposed findings and recommendations contained

      in this report within fourteen days after service shall bar an aggrieved party from de novo review

.     by the district court of the proposed findings and recommendations and from appellate review of

      factual findings accepted or adopted by the district court except on grounds of plain error or

      manifest injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275,

      276-77 (5th Cir. 1988).
             SIGNED this 12th day of October, 2010.




                                             ___________________________________
                                             AMOS L. MAZZANT
                                             UNITED STATES MAGISTRATE JUDGE




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